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 Pro Se 1 (Rev. 12/16) Complaint for a Civil Case




                                          United States District Court
                                                                          for the

                                                             Eastern District of Virginia

                                                                  Richmond Division



                                                                                    Case No.
                                                                            )
                                                                            )                      (to be iflled in by the Clerk's Ofifce)
 ^avicl hf^-^-croAcl       tui<inCO(L
                 Plainliff(s)
                                                                            )
                                                                            )
 (Write the full name of each plaintiff who is ifling this complaint.
If (he names of all (he plaintiffs cannot ift in the space above,           )       Jury Trial: (check one)     I   I Yes          No
please write "see attached" in the space and attach an additional           )
page with the full list of names.)
                                                                           )
                                    -V-
                                                                           )
                                                                           )
                                                                           )
                                                                           )
                                                                           )
LlrVliA tCrjn C re A (-h                   A               nc €            )
                                Defendant(s)                               )
(Write the full name of each defendant who is being sued. If (he           )
names of all (he defendants cannot ift in the space above, please
write "see attached" in the space and attach an additional page
with the full list of names.)



                                                    COMPLAINT FOR A CIVIL CASE

I.
          The Parties to This Complaint
          A.
                     The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.

                                  Name
                                                                        .Dayifl
                                  Street Address
                                                                                    Sally G-row^ Tkrr
                                  City and County
                                  State and Zip Code
                                 TelephoneNumber                        ~B4o-LJ^4-
                                 E-mail Address
                                                                         (jcxvyyjavey fyip <x)^noOil^Cr>
         B.
                    The Defendant(s)

                    Provide the information below for each defendant named in the complaint, whether the defendant is an
                    individual, a government agency, an organization, or a corporation. For an individual defendant,
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                      Defendant No. 1


                                 Name                                           ^y/I                Vp
                                 Job or Title (if known) QleMa>}uol(^    ^ Ai^j^ r uLO-*^   Gri>Ai~\'    r a p-^/iy^r ^
                                 Street Address
                                                                         C            SpeiT'f'onh^r^ S'oo-hln C<^r6hnct^
                                 City and County
                                 State and Zip Code                ^cu-^h. Carotm/'j
                                 Telephone Number
                                 E-mail Address (if known)
                                                                  (Tcj&O o       q,Ccl.cc g-j3~/~(3ncfg ●ZIq/'w
                      Defendant No. 2

                                 Name
                                                                   'lh^f>f^a5 i^\//yian -5ewg
                                 Job or Title      (ifknown)Cb~WAjaatn/^/7gr-               Ero-ih^fS J\l
                                 Street Address
                                                                    iI        ^icflo-fh/atn } P'k^
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (ifknown)                    (0 ^O.nn,/^ onA -                    rar-y.

                      Defendant No. 3

                                 Name

                                 Job or Title (if known)
                                 Street Address

                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (if known)


                      Defendant No. 4

                                 Name

                                 Job or Title (if known)
                                 Street Address

                                 City and County
                                 State and Zip Code
                                 Telephone Number

                                 E-mail Address (ifknown)
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n.         Basis for Jurisdiction


          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treati
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

           What is the basis for federal court jurisdiction? (check all that apply)
                 I I Federal question                              n Diversity of citizenship


          Fill out the paragraphs in this section that apply to this case.

          A.          If the Basis for Jurisdiction Is a Federal Question

                      List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution
                      are at issue in this case.




                                                         C/CC.

                           f^USc/IUOf                                                                               j/341
          B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                      1.        The Plaintiff(s)

                                a.
                                           If the plaintiff is an individual
                                           The plaintiff, (name)                                                , is a citizen of
                                                                       ,   I
                                            State of (name)


                                b.         If the plaintiff is a corporation

                                           The plaintiff, (name) f)q^v          F                               , is incorporate
                                           under the laws of the State of (name)
                                                                                         \}^
                                           and has its principal place of business in the State of (name)



                                (If more than one plaintiff is named in the complaint, attach an additional page providing th
                                same information for each additional plainti.ff)

                     2.         The Defendant(s)

                                a.         If the defendant is an individual

                                           The defendant, (name)                                                , is a citizen of
                                           the State of (name)                                              . Or is a citizen of

                                            (foreign nation)
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                                  b.         If the defendant is a corporation
                                             The defendant, (name)                                           , is incorporatedur
                                             the laws of the State of (name)                                             , and has

                                             principal place of business in the State of fname)
                                            Or is incorporated under the laws of (foreign nation)
                                            and has its principal place of business in (name)


                                 (If more than one defendant is named in the complaint, attach an additional page providing t
                                 same information for each additional defendant.)
                      3.         The Amount in Controversy

                                 The amount in controversy-the amount the plaintiff claims the defendant owes or the amoun
                                 stake-is more than $75,000, not counting interest and costs of court, because (explain):




m.         Statement of Claim


           Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
           facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant w
           involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs irghts, including
           the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim ar
           write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.


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                                       fi^h+ir Cfrzcl                          rv)y                 Qeael^
               Ctfi          y


rV.       Relief


          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make lega
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the founts, and the reasons you claim you are entitled to actual or
          punitive money damages. J                              -i-ormy fUi'Sc>nc*-i prcpe-rVy 4o
           My ^ lO^OOO plD5                                            TY)on'i'h^y f>ayM£,niy and ^iSOoO
              In      Ao^rvx ajes                                                                                    '
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V.
          Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, informati
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.
                     For Parties Without an Attorney

                     I agree to provide the Clerk’s Office with any changes to my address where case-related papers may
                     served. I understand that my failure to keep a current address on file with the Clerk’s Office may resi
                     in the dismissal of my case.

                    Date
                            of signing: (joly J j 20
                    Signature of Plaintiff
                    Printed Name of Plaintiff
                                                      bavid r N^omro'e
         B.         For Attorneys

                    Date of signing:


                    Signature of Attorney
                    Printed Name of Attorney
                    Bar Number

                    Name of Law Firm
                    Street Address

                    State and Zip Code
                   Telephone Number
                   E-mail Address
